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                           UN ITED STM 'ES DISTR I T         U RT

                           SOUTHERNDISTRICTO F lDA                             k
                                                                               )
                                                                               :
                                          CA SE N O .:
  SECURITIESANDEXCHANGECOMMISSION                   ,
                                                                      êzf-W u q
                             Plaintiff,



  NA TIJM L DIAM O ND S IN VE STM EN T C O .,                       FILED B li                D.C.
  EAGLE FINANCIAL DIAM OND GROUP lNC
   A/K /A DIA M AN TE ATELIER ,                                          MAï 13 2219
  AR G Y LE CO IN ,LL C,                                                  ANGELA E.NOBLE
  Jo sE A N G EL AM AN                                                   CLEBK U S DIS'E CX
                                                                         s.D.ogFt-k.-MI
                                                                                      AMI
  HAROLDSEIGEL,V D
  JO N ATH AN H .SEIG EL ,

                             D efendants,and

  H .s.M A NA G EM EN T G R O U P LLC,
  G O LD 7 O F M IA M 1,LLC
  wINNERSCHURCHINTkRNATIONALINC.                                                               Y owe
    O F W EST PA LM BEA C H ,FLO RIDA ,
   FRED E ltlclt D .SH IPM A N ,AN D
   W H ITN EY SH IPM A N ,

                             R eliefD efendants.
                                                         /

                  C OM PLA IN T FO R INJUN CTIV E A ND O TH ER RELIEF

         PlaintiffSecuritiesandExchangeCommission(the(rornmission'')alleges:
                                    1. IN TR O DU CTIO N

                The Commission bringsthisaction to enjoinNaturalDiamondslnvestmentCo.
   (tdNaturalDiamonds''),EagleFinancialDiamondGrouplnc,z1VaDiamanteAtelier(1kEag1e''),and
   ArgyleCoin,LLC (CkArgyleCoin'')(collectively,theCf orporateDefendants'),andtheirowners
   Jose AngelAman (ûûAman'') Harold Seigel(ttH.Seigel'') and Jonathan H.Seigel(1ûJ.Seigel'')
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  from continuing to defraud investors through the sale of securities in violation ofthe anti-fraud

  and registration provisions ofthe federalsecuritieslaws.

                 From no laterthan M ay 2014,the Defendantshaveraised about$30 million from

  approxim ately 300 investors through the sale of securities in the form ofprom issory notes and

   investm entcontractsin A rgyle Coin,N aturalD iam ond,and Eagle.

                 To lure investors, the Defendants have know ingly Or recklessly m aterially

  m isrepresented how they w ould use investorfunds and the safety ofthe investm ents.

                 Collectively, the D efendants have misused or m isappropriated rnore than $10

   million ofthe $30 m illion raised from investors in a mannercontrary to the representations to

   investors.

                 From no laterthan M ay 2014 thzough atleastDecember2018,NaturalDiamonds,

   Am an,andtheSiegelsengagedintheunregistered offeringofsecuritiesin theform ofinvestm ent

   contractsin N aturalDiam onds.They told prospective investorsthatN aturalD iam ondsw ould use

   investor funds to acquire raw colored diam onds known as ûlfancy colored diam oncls,''which they

   w ould then cut,polish,and resellforprofits thatwould resultin investm entreturns of24% and

   the fullreturn ofinvestors'principalw ithin tw o years.

          6.     ln reality,N aturalDiam onds w as a Ponzischem e. Am an and N aturalD iam onds

   used investorfundsto pay priorinvestorstheirpurported returns.

                  W hen the well began to l'
                                           un dry in early 2015, Eagle, A m an, and the Seigels

   com m enced a second unzegistered Offering,thistim e in the form ofinvestm entcontractsin Eagle.

   They m ade the sam e false representations aboutthe use ofinvestors'funds,and fueled the Ponzi
                                                             .




   schem e by using Eagle investors' funds to pay N atural D iam onds and Eagle investors their

   purported investm entreturns.
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         8.     ln addition to operating a m u.
                                              '
                                              lti-layerPonzischem e,Am an,N aturalDiam onds,and

  Eagle used investors' funds to purchase horses and riding lessons for Am an's adult son,pay

  Aman'schurch andpastorsmorethan $1.5m illion,pay H .Seigeland hiscompany morethan $3

  m illion,and pay more than $3 m illion to Aman directly or forhis otherpersonalexpenditures,
  including shopping atG ucciand paying the renton his hom e.

         9.     By late 20l7,the NaturalDiam onds and Eagle bank accounts lacked funds to

  continue the Ponzischem e. ln O ctober2017,A m an created Argyle Coin and the fiaud continued

  through a third unregistered offering.

                The Argyle Coin offering continues to thisday. A m an and A rgyle Coin represent

  that A rgyle Coin is offering the tirst investm ent in cryptocurrency backed by fancy colored

  diam onds. To lure investors,they tellinvestors they w illuse investor funds to develop Argyle

  Coin's cryptocurrency business and the investm ent is risk-free because investors' principal is

  protected by valuable diam onds.

                 Thisisfalse.ln truth,Am an has been using Argyle Coin investorfundsto continue

  the Ponzischeme by using Argyle Coin investor funds to pay Natural Diam onds and Eagle

  investorstheirpurported investm entreturns.A sforthe valuable diam ondsthatpum ortedly protect

  investors'm oney,A rgyle Coin hasnone.

                N onetheless,A m an hasdoubled down on hisrepresentationsaboutthe safety ofthe

  Argyle Coin investment by telling investors that the investment is l00% guaranteed by an

  insurance bond. H ow ever,under the term s of the bond,investor funds are guaranteed only if

  A rgyle Coin develops a cryptocurrency. A m an has instead used investorfunds prim arily to fuel

  histhree-tiered Ponzischem e w ith N aturalD iam onds and Eagle.




                                                 3
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                 The N aturalD iam onds,Eagle,and Argyle Coin bank accountsreceived m orethan

  $30 m illion from investors. As of M arch 31,2019,these accounts had a combined negative

  balanceofabout$120,000.

                 A s for the diam onds,A m an paw ned dozens of them and pocketed the proceeds,

  which totaled morethan $750,000.
                 Through their conduct,Am an,A rgyle Coin,N atural D iam onds,and Eagle have

  violated the anti-fraud provisions of the federalsecurities laws,and a11of the D efendants have

  violated the registration provisions ofthe federalsecurities law s.

                 Based on theongoing nature ofAm an and A rgyle Coin'sviolationsand the scienter

  A m an hasdem onstrated through his w illfuland wanton disregard forthe federalsecurities law s,

  together w ith the egregious nature of N atural Diam onds,Eagle,and the Seigels violations,the

  Defendantshaveshowntheywillcontinuetoviolatethelaw unlesstheCourtgrantstheinjunctive
  and otherreliefthe Com m ission seeks.

                        Il. DEFEN DA NTS A ND RELIEF D EFEN DA NTS

                                           A . D efendants

                 N atural D iam onds is an active Florida corporation that incorporated in A ugust

  2013,w ith a principalplace ofbusinessin Palm Beach,Florida.N aturalDiam onds ispum ortedly

  in the business ofbuying and selling diam onds. Am an owns 45% ,H .Seigelow ns 45% ,and J.

  Seigelowns 10% ofN aturalD iam onds. A m an isitsPresident,H .SeigelisitsV ice President,and

  J.Seigelisits Secretary. A sofM arch 28,2019,N aturalD iam ondsisunderthe controlofa Court-

  appointedmonitorinthecaseRoundv.NDIC,18-cv-81151(S.D.Fla.)(J.M iddlebrooks).Neither
  NaturalDiamondsnoritssecuritieshaveeverbeen registered with theComm ission.
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          l8.    Eagle isan active Florida corporation thatA m an incorporated in A pril201lw ith a

  principalplace ofbusinessin Palm Beach,Florida. Eagle ispurportedly in the businessofbuying

  and selling diam onds forinvestm entpurposes. Eagle also m arketsitselfusing the nam e D iam ante

  Atelier. A ccording to Am an,Am an ow ns 45% ,H .Seigelow ns 45% ,and J.Seigelow ns l0% of

  Eagle. A ccording to the Seigels,A m an ow ns 100% of Eagle,H . Seigel gets 45% of Eagle's

  proceeds,and J.Seigelgets 10% of Eagle'sproceeds. As ofM arch 28,2019,Eagle is underthe

  controlofa Court-appointed monitorin the case Round v.NDIC,18-cv-81l51 (S.D.Fla.)(J.
  M iddlebrooks),which isthesamemonitorwho hasbeenappointed overNaturalDiamonds. H.
   Seigelis Eagle's Presidentand A m an is Eagle's V ice President.N either Eagle nor its securities

  have everbeen registered w ith the Com m ission.

          19.    A rgyle Coin isan active Florida lim ited liability com pany A m an form ed in October

  2017,with a principalplace ofbusiness in Palm Beach,Florida. Am an isA rgyle'sPresidentand

  sole officer.N eitherArgyle Coin noritssecuritieshaveeverbeen registered w ith the Com m ission.

                 A m an w as a residentof W ellington,Florida from no later than N ovem ber 2010

  untilaboutA ugust2018 and nOw residesin M iam i,Florida. He isPresidentofN aturalDiam onds,

  VicePresidentofEagle,and PresidentofA rgyleCoin.H eisa signatory on theN aturalD iam onds,

  Eagle,and A rgyle Coin bank accounts.

                 H arold Seigelis a residentofW estPalm Beach,Florida. Togetherw ith his son,J.

  Seigel, he ow ns half of N atural D iam onds and Eagle. H .Seigel is V ice President ofN atural

  D iam onds and Presidentof Eagle. Beginning no later than 2010,he has hosted a w eekly radio

  show calledit-f'
                 heW orldFinancialReport''(sslkadioShow'')thathasnow becomeaweeklyonline
  podcastby the sam e nam e,in w hich hetoutsinvestm entopportunities.




                                                   5
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                 Jonathan Seigelresides in Parkland,Florida and ow ns 10% ofN aturalDiam onds

   and Eagle. J.Seigelisthe Secretary ofN aturalDiam onds.

                                       B.R eliefD efendants

                 H.S.M anagementGroup LLC (û1H.S.Management'')isan activeFlorida limited
   liability com pany H . Seigel form ed in February 2014, w ith a principal place of business in

   Parkland,Florida. H .Seigelisitssole m anaging m em ber. From M ay 2014 untilD'
                                                                                 ecem ber2018,

   Eaglepaid H.S.M anagementatleast$3.8m illioninill-gotten gains.W ithoutany legitimatebasis,
   H .S.M anagem entreceived investorproceeds em anating from the N aturalDiam onds,Eagle,and

   Argyle Coin securities frauds.

                 Gold7ofMiami,LLC (iûG7'')isanactiveFloridalimitedliabilitycompanyfonued
   in Febnlary 2010. ltis a paw n shop with its principalplace of business is M iam i,Florida. G7

   received,through consignm entagreem ents Am an executed on his own behalf,approxim ately 40

   diam ondsthatbelong to N aturalD iam onds and Eagle. W ithoutany legitim ate basis,()7 received

   these diam onds,which Am an consigned in orderto obtain personalloans. ()7 isstillin possession

   of these diam onds,which are the ill-gotten gains of the N aturalD iam onds and Eagle securities

   frauds.

                 W inners Church International lnc. of W est Palm Beach, Florida (ûiW inners
   Church'')isan activeFloridanot-for-profitcorporation incorporated in November l985with a
   principalplace ofbusiness in W estPalm Beach,Florida. A m an is a director ofW innersChurch,

   FrederickD.Shipman (t1F.Shipman'')isitspresident,andW hitneyShipman(ûGW .Shipman'')isa
   director. From M ay 2014 untilDecember2018,Eaglepaid W innersChurch atleast$1million in
   ill-gotten gains. W ithout any legitimate basis, W inners Church received investor proceeds

   em anating from theNaturalDiam onds,Eagle,and ArgyleCoin securitiesfrauds.
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          26.    Frederick D .Shipm an isthepresidentofW innersChurch.F.Shipm an isthe father

   ofW .Shipman. From August2014 untilAugust2018,Eaglepaid F.Shipm an atleast$700,000

   in ill-gotten gains. W ithoutany legitim atebasis,F.Shipm an received investorproceedsem anating

   from the N aturalDiam onds,Eagle,and A rgyle Coin securitiesfrauds.

                 W hitney Shipm an isa directorofW innersChurch. From January 2015 untilApril

   2018,Eaglepaid W .Shipm an atleast$40,$
                                         '
                                         )00 in ill-gotten gains. W ithoutany legitimate basis,

   W .Shipm an received investorproceedsem anating from theN aturalD iam onds,Eagle,and A rgyle

   Coin securitiesfrauds.

                                  111. JUR ISD ICTIO N A ND VEN UE

                 TheCourthasjurisdictionoverthisactionpursuanttoSections20(b),20(d),and
   22(a)oftheSecuritiesActof1933(ûûsecuritiesAct''),15U.S.C.jj77t(b),77t(d),and77v(a);and
   Sections21(d),21(e),and Section27oftheSecuritiesExchangeActof1934CkExchangeAct''),
   15U.S.C.jj78u(d),78u(e),and78aa.
                 ThisCourthaspersonaljurisdiction overthe Defendantsand ReliefDefendants,
   and venue isproperin the Southern DistrictofFlorida,because m any ofthe Defendants'actsand

   transactions constituting or resulting from violations ofthe Securities Actand the Exchange A ct

   occurred,and asto A m an and A rgyle Coin continue to occur,in the Southern D istrictofFlorida.

   Natural Diam onds, Eagle,and Argyle Coin all have their principal place of business in the

   Southern DistrictofFlorida,and A m an and the Seigelsreside in the Southern D istrictofFlorida.

   The Relief D efendants are all located in the Southern District of Florida. The Corporate

   Defendants'bank accounts are all located in the Southern District of Florida,and A m an is a

   signatory on those accounts.
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                  ln connection w ith the condllctalleged in this Com plaint,the D efendants,directly

   and indirectly,singly orin concertwith others,havem ade use ofthe m eans orinstrum entalities of

   interstate com m erce,the m eans or instrum ents oftransportation and com m unication in interstate

   com m erce,and the m ails.

                    lV . TH E NA TU R AL D IAM O ND S SEC UR ITIE S FR AUD

                                  The NaturalD iam onds O fferin:

                  From approxim ately M ay 2014 thzough at least D ecem ber 2018, N atural

   Diam onds,Am an,and the Seigelsoffered and sold N aturalD iam ondsinvestm entcontracts to the

   public.

                  TheofferingdocumentsconsistedofaNaturalDiamondslnvestorAgreement(the
   isNaturalDiamondslnvestmentContract'')thatH.SeigelorJ.SeigelsignedOn behalfofNatural
   Diamonds.gExhibit11.Noregistrationstatementwasfiledwith theCommission orin effectfor
   the NaturalD iam ondsoffering.

          33.     TheN aturalD iam ondslnvestm entContractstatesthatthe investorisinvesting w ith

   N aturalD iam onds and thatthe investor's funds ûûshallbe used atthe sole discretion''of N atural

   Diam ondsto purchase high grade diam onds.

                  The N aturalD iam onds lnvestm ent Contractw arrants thatN aturalD iam onds w ill

   tiprocuretheappropriatediamondts)forthisspecificinvestment''within 30daysofreceivingthe
   investor'sfunds.

                  N aturalD iam onds would then purportedly cut,polish,and sellthe diam ondsfor a

   profit. A ccording to the N aturalDiam onds lnvestm ent Contract,in return for their investm ent,

   investorswould receive 2% simple interestperm onth for 24 m onths and atthe end ofthe 24-

   m onth period N aturalDiam ondsw ould pay investors areturn oftheirprincipal.


                                                   8
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          36.     ln som e instances,N aturallliam onds also provided investors w ith a tlN egotiable

   Prom issory N ote''w hich references the N aturalD iam onds lnvestm entContractand which one of

   the Seigels signed (the ûçpromissory Note'').gExhibit21. The Promissory Note promisesthat
   N atural Diam onds w ould pay investors a 2% m onthly interest and return investors' principal

   investm entam ountatthe end ofthe 24-m 011th period.

          37.     lnvestors lacked expertise in diam onds and had no involvem ent in how N atural

   D iam onds identified,selected,purchased,cut,polished,or sold the diam onds. lnvestors had no

   discretion overhow N aturalDiam onds,A m an,and the Seigels w ould use their investm entfunds.

   lnstead,they relied on NaturalDiam onds,Am an,and the Seigels to m ake a1ldecisionsthatwould

   affectthe profitability oftheN aturalDiam onds investm ent.

          38.     Investors contributed to the N atural D iam onds offering by sending investm ent

   funds to N aturalD iam ondsorits law finn via w ire transferorcheck.

          39.     From August 2016 until D ecem ber 2018, N atural D iam onds raised at least

   $1,798,000 from about 133 investors,including unaccredited investors,located throughoutthe

   U nited States and Canada.

                           B. Solicitation ofN aturalDiam ondslnvestors

          40.     From no laterthan M ay 2014 untilatleastDecem ber2018,N aturalD iam ondsand

   the Seigels solicited investors in the N aturalD iam ondsoffering.

                  H .Seigelsolicited investorsthzough one-on-one conversationsin atleast2015 and

   through hisRadio Show from atleastFebruary through April2017. From no laterthan N ovem ber

   2015 untilatleastN ovem ber 2017,J.Seigelsolicited investors verbally through telephone calls

   and conversations,and occasionally via em ailm essages.
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                 FOr exam ple,on atleastFebruary 24,2017,M arch 10,2017,and A pril 13,2017,

   H .Seigelsolicited prospective investorsin the United Statesand Canada through hisRadio Show .

   ln the February 24,2017 episode,H .Seigeltouted N aturalDiam ondsasan investm entopportunity

   ûtw hich pays 24% per a yearin return o1z investm ent.'' Sim ilarly,on M arch 10,20l7,H .Seigel

   again touted N aturalD iam ondsasan investluentoffering a 24% a yearinvestm entreturn,and on

   A pril 13,2017,H .Seigeltold his listeners thatN aturalD iam ond investors were receiving a 25%

   investm entreturn each year.

          43.    A fterprospective investorsheard the Radio Show ,they contacted H .Seigelto get

   m ore inform ation and he putthem in contactw ith J.Seigel. J.Seigelthen provided prospective

   investors with m ore inform ation aboutthe N aturalDiam onds offering and closed the deal.

          44.    FOz exam ple,during the firsthalf of2017,afterlearning aboutN aturalD iam cmds

   and the investm ent returns from H .Seigelthrough the Radio Show ,a veterinarian w ith initials

   A.C.from Lloyd Harbor,New York (thettveterinarian'')spokewith J.Seigel.J.Seigeltoldthe
   Veterinarian thatN aturalD iam ondsoffered investorsa 2% m onthly investm entretlzrn foraperiod

   of24 m onths,and would return the Veterinarian's principalinvestm entam ountto him atthe end

   ofthe 24-m onth period.

          45.    D uring thisconversation,J.Seigelcontinued thesolicitation effortH .Seigelbegan.

   J.Seigeltold the Veterinarian,w ho lacked expertise in diam onds,thatN aturalDiam onds w ould

   use investor funds to buy and sell diam onds. J.Seigel also assured the Veterinarian that the
                                    .




   investm entw ould be safeand secure,and thatitw ould be guaranteed by diam ondsw orth 10 tim es

   the amounttheVeterinarian invested. Atnotim edid J.Seigeldiscloseany risksassociated with

   theinvestment.Nordid J.Seigeldiscloseto theVeterinarian thatinvestorfundswould beusedto
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   pay com m issionsorfees,orthatitw ould be used to pay otherinvestorstheirpurported investm ent

   returns.

                 Based on w hatJ.Seigelrepresented to the V eterinarian,he decided to invest. On

   June 7,2017,the Veterinarian invested $.50,000 in Natural Diamonds. ln exchange for the
   investm ent, J. Seigel executed a N atural fliam onds lnvestm ent Contract w ith the V eterinarian

   dated June 7,2017 as w ellas a Prom issory N ote dated June 9,2017. These docum entsprom ised

   the Veterinarian thatN aturalD iam onds w ould pay him the prom ised investm ent returns of 2%

   eachmonthfor24months(oruntilJune2019),atwhich timeitwouldpayhim an amountequal
   to his investm entprincipal.

          47.    N aturalD iam ondsfailed to m ake a1lofthe prom ised paym entsto theV eterinarian.

   ln N ovem berorD ecem ber2018,N aturalD iam ondsstopped sending the V eterinarian hism onthly

   investm ent retum s.H . Seigel contacted the V eterinarian to assure him thatN atural D iam onds

   w ould return hisinvestm entprincipal. H ow ever,thisneverhappened.

          48.     J.Seigelalso solicited investorsdirectly and then putthem in contactwith H .Seigel

   to secure the investm ent. Forexam ple,in late 2015,J.Seigelapproached a tour bus driver with

   theinitialsR.B.who residesin MontanaandAlberta,Canada(thettBusDriver''). J.Seigeltold
   the Bus D river thatN aturalD iam onds w as in the business of locating and purchasing diam ond

   parcels to cut and resellfor a protit. J.Seigeltold the Bus Driver thatN aturalD iam onds used

   investorfundsto buy thediam onds,andthen paid investorsreturnsfrom N aturalD iam onds'profits

   afterselling the diam onds.

          49.     During this conversation w ith the Bus D river, J. Seigel touted the safety and

   security of investing in N atural D iam onds, assuring him that the investm ent was backed by
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   valuable diam onds. H e also encouraged the Bus Driver to speak w ith H . Seigel about the

   investm ent.

          50.     J.Seigelalso em ailed the BusDriveron N ovem ber 10,2015,telling the BusD river

   that he w as one ofthe ttlucky few ''who clluld see the diam onds and attaching photos of them ,

   which J.Seigelw rote w ere tûtw o ofthe rarestrough colored diam ond parcelsaround today.''

                  Laterin N ovem ber2015,J.Seigelsentthe BusD rivera docum entJ.Seigelsigned

   entitled tûN .D .I.C.Secured lnvestm ents,''wlkich stated itw asforthe purpose ofadvising ûtpotential

   and cun-entinvestors.'' In this docum ent,J.Seigelrepresented that:

          L'NaturalDiamonds'lisproperly andadequatelyfundedandabletosecureeveryinvestors
          investment. Forevery dollarraised l aturalDiamondslmatchesthatamountwith hard
          assets and safeguards them inside a trust account safety deposit box at a local bank.
          F aturalDiamondsjisconsistently buying and selling diamonds,in orderto grow and
          provide prom ised returnsto itsinvestors.


          lfitwereeverrequired,foranyunforeseeablereason,l aturalDiamondslpromisestosell
          theabove-mentioneddiamondts)andusetheproceedstowardspayingbacktheprincipal
          investm entto each investor. A lthough the founders ofthis Com pany know thatinvesting
          in diam onds is a relatively 1ow risk venture,ithas taken proper m easures to ensure the
          integrity ofthe investm entsby ourvalued custom ers.
                  ln aboutN ovem ber2015,shortly afterJ.Seigelencouraged the BusD riverto speak

   with H.Seigel,H.SeigeltoldtheBusbriverthatNaturalDiamondswouldpayhim 2% monthly
   returns and w ould return his principalto him after24 m onths.

                  N eitherJ.SeigelnorH .Seigeleverdisclosed any risksassociated with investing in

   N aturalDiam onds orany feesOrcom m issionspaid from investorfunds. Nordid they tellthe Bus

   D riverthatN aturalD iam ondsw ould use hisinvestorfundsto pay investorstheirpurported retulm s

   or for anything other than buying,cutting, and polishing diam onds. Instead,the Seigels both

   assured the BusDriverthatN aturalD iam ondshad diam ondsto secure the investm entand thathis

   investm entw ould neverbe atrisk.
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                 Based on w hatthe Seigelsrepresented to him ,on D ecem ber7,20l5,the B usDriver

   invested $25,000 in NaturalDiam ondsby sendingawiretransfertothetrustaccountforthelawyer

   ofNaturalDiamond(theûtlwaw Firm'').TheLaw Firm,atthedirection ofJ.Seigel,senttheBus
   Drivera N aturalD iam ondslnvestm entContractdated D ecem ber7,2015 and signed by J.Seigel

   on behalfofN aturalDiam onds.

                 N aturalDiam onds then sentthe BusD rivera Prom issory N ote dated Decem ber 9,

   2015,and signed byJ.Seigel.

          56.    In both the N aturalDiam onds lnvestm entContractand Prom issory N ote,N atural

   D iam ondsw arranted thatitwould pay the Bus Drivera 2% investm entreturn each m onth for24

   monthsandwould pay him his$25,000 investmentprincipalattheend ofthe24-month period.
                  ln D ecem ber2017,the Bus Drivercontacted J.Seigeland asked N aturalDiam ond

   to return hisprincipal. J.Seigel,and then Am an,both respcm ded to the Bus Driver's inquiry by

   promising thatNaturalDiam ondswould makethe $25,000 paymentto him . However,despite

   num erousinquiries,N aturalD iam ondshasneverm ade thispaym ent.

          58.    J.Seigelalso solicited Eagle investorsto investin N aturalDiam onds.

                 For example, in 2015,H. Seigel and J. Seigel had successfully solicited an

   investm entin Eagle from an individualwhose initialsareB .B.and w ho residesin A lberta,Canada,

   whereheworksintheinsuranceindustry(thelûlnsuranceW orker'').ln Spring2017,whenEagle
   wassupposed to return the lnsurance W orker'sinvestm entprincipal,the lnsurance W orkercalled

   J.Seigel,who offered the lnsurance W orker an investm entin N aturalDiam onds.

                 During this telephone call, J. Seigel told the lnsurance W orker that N atural

   Diamondswoulduse investorfundsto acquire,cut,polish,and reselldiam onds,and thatNatural

   Diam onds would pay him a 2% m onthly investm entreturn for a period of24 m onths,and w ould


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   return his principalinvestm entam ountto him atthe end ofthe 24-m onth period. Atno tim e did

   J.Seigel disclose any risks associated with the investm ent. N or did J. Seigel disclose to the

   Insurance W orkerthatinvestor fundsw ould be used to pay com m issions or fees,orthatitw ould

   be used to pay otherinvestorstheirpurported investm entreturns.

                 Based on w hat J.Seigel represented to the Insurance W orker during the Spring

   telephonecall,thelnsuranceW orkerinvested $10,000 inNaturalDiamondson April27,2017by
   sending a wire transferto N aturalDiam ond'sbank account.

          62.    ln exchange,N aturalD iam ondsprovided the lnsurance W orkerw ith a Prom issory

   N ote signed by H .Seigeland dated April27,2017 thatprom ised investm entreturnsfor24 m onths

   (oruntilMay 2019). NaturalDiamondsstopped paying the lnsurance W orkerhisinvestment
   retunzsin early 2019 and failed to return hisprincipalinvestm entam ount.

                    C. FraudulentConductin the NaturalD iam ondsO fferina

          63.    In connection w ith the N aturalD iam onds offering,N aturalD iam onds and A m an

   engaged in fraudulentconduct.

                 As an officer and ow ner ofN aturalD iam onds,as wellas a signatory on N atural

   D iam onds bank accounts,A m an knew,Or was reckless in notknow ing,the representationsm ade

   to investorsaboutthe offering and falsity ofthe representations.

          65.    Contrary to the representations to investors in the N aturalD iam onds lnvestm ent

   Contractand Prom issory N ote thatN aturalD iam onds would use investorfundsto purchase,cut,

   polish,and reselldiamondsforprofits,Am an and NaturalDiam ondssiphoned investorfundsto

   EagleandArgyleCoinandusedinvestorfundstopayinvestorstheirpurportedinvestmentretulms.

          66.    From no later than O ctober 4, 2016 until at least D ecem ber 24, 2018,N atural

   Diamondstransferred N aturalDiamonds investorfundsto Eagle. From no laterthan M arch 5,
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   2018 until at leastD ecem ber 21,2018,N aturalD iam onds transferred investor flm ds to Argyle



          67.    From M ay 20l7 untilDeceluber2018,Aman received m ore than $75,000 from

   N aturalD iam onds.

          68.    NaturalDiam ondssentF.Shipman $5,000 onApril10,2018,and W innersChurch

   $1,000 on December18,2018,forno legitimatereason.
                 From no later than August 2016 until Decem ber 2018,N atural D iam onds used

   N aturalD iam ondsinvestors'funds,togetherw ith m oney from Eagle and A rgyle Coin,to transfer

   via wire orcheck about$2,930,000 to 128 NaturalDiam ondsinvestorsasthepurported interest
   paym ents on theirinvestm ents.

          70.     For exam ple, on August 26, 2016, an individual investor wired his $49,990

   investm entto N aturalD iam onds. Priorto tllisinvestm entdeposit,thisN aturalD iam ondsaccount

   hadabalanceof$500.BetweenAugust30,2016and September6,2016,NaturalDiam ondswired

   about$34,000 ofthe$49,990ofinvestorfundsto22NaturalDiam ondsinvestorsand noted on the

   wire transfersthatthese w ere for an tcinterestpaym ent.''

                  As anotherexample,on Septem ber23,2016 an individualinvested $249,980 in
   N atural D iam onds via w ire transfer to the N atural D iam onds' bank account. Prior to this

   investment,thisNaturalDiamondsaccounthad abalanceof$9,560.97.Between October3,2016

   and Octoberl3,2016,N aturalDiam ondswired about$51,000 ofthe $249,980 ofinvestorfunds
   to 25 N aturalD iam onds investors and noted on the w ire transfers that these w ere for tto ctober

   lnterest-''




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                  Between October3,2016 and October 13,2016,NaturalDiamondssent$106,000
   of the Septem ber 23,2016 investm entfunds to 62 N aturalD iam onds investors and noted on the

   w ire transfers thatthese w ere forlûoctober lnterest,N DIC M onthly lnterest.''

                  A s of February 28, 2019, the N atural Diam onds bank accounts had negative

   balancesofabout$120,000.
                              1V . TH E EA G LE SE CU RITIE S FR AUD

                                        A .The Eaele O fferin:

          74.     From approxim ately M arch 2015 through atleastD ecem ber 2018,Eagle,Am an,

   and the Seigelsoffered and sold Eagle investm entcontractsto thepublic.N o registration statem ent

   w as filed w ith the Com m ission orin effectforthe Eaglesoffering.

                  The offering documents consisted of an Eagle dicontractfor lnvestment''(the
   ûtEagleInvestmentContract'')thatH.SeigelsignedonbehalfofEagle.
          76.     The Eagle lnvestm entContract provides that the investor enters into a one-tim e

   partnership w ith Eagle in w hich Eagle w ill cut,polish and sell a diam ond parcel for a profit.

   Specifically,itstates'
                        .

           g'l-jheinvestmentshalltakeplaceoveraneighteen(18)monthperiodwherebyEaglewill
          cut,polish,and grade said R ough D iam ond Parcel. Eaglerequiresa certain am ountoftim e
          (reselwed to thediscretion ofEagle)to sellsaidparcelatprofitand byway ofthisContract
          warrantsa 100% returnto ginvestorlonsaidinvestmentin additiontoreturnoftheinitial
          principal.Aforesaid gsicl100% return andinitialprincipalshallbereturnedto lnvestor
          eighteen (18)monthsafterexecution ofthisagreementorasotherwise agreed by both
          partiesbyamendmenttothisagreement.gExhibit31.
                  Eagle selected the diam onds to purchase and Am an had speeialized education and

   training in inspecting and cutting diam onds.

          78.     Eagleinvestorslackedexpel-tisein diamondsandhadno involvem entinhow Eagle

   identified,selected,purchased,cut,polished,or sold the diam onds. Investorshad no discretion
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   overhow Eagle,A m an,and the Seigels wolzld use theirinvestm entfunds. lnstead,they relied on

   Eagle,Am an,and the Seigelsto m ake a1ldecisions thatw ould affectthe profitability ofthe Eagle

   investm ent.

                  Investorscontributed to the li
                                               lagle offering by sending investm entfundsto Eagle or

   its law firm via w ire transfer orcheck.

          80.     From M arch 2015 untilDecember2018,Eagle raised atleast$25.6 million from
   276 investors,including unaccredited investors,located throughoutthe U nited States and Canada.

                                  B. Solicitation ofE azlelnvestors

                  Eagle and J.Seigel solicited investors by representing that Eagle w ould double

   investors'm oney in 18 or24 m onths.

          82.     From at leastN ovem ber 2015 untilatleastAprilor M ay 2017,J.Seigelsolicited

   potentialinvestorsvia telephone.

          83.     Forexam ple,in aboutM ay 2015,the Insurance W orkerbegan listening to the Radio

   Show ,where H .Seigeltouted investm entsbacked by rarecolored diam ondsand provided listeners

   with his telephone num ber. The lnsurance W orkercalled H .Seigel,who then puthim in contact

   with J.Seigelto discussthe Eagle investm entopportunity.

          84.     ln the second halfof2015,J.Seigeltold the lnsurance W orker that Eagle w as in

   the business of locating and purchasing diam ond parcels to cutand resell for a profit,and that

   Eagle used investorfundstb buy and selldiam onds.J.Seigeltold the lnsurance W orkerthatEagle

   paid investorsfrom theproceedsofthe diam ond sales,andthatEagle would doublehism oney and

   pay him a 100% return on hisprincipalin l8 m onths.

          85.     J.Seigellured the Insurance W orkerby touting his fam ily's expertise and tim e in

   thediamond business,and said thatinvestmentfundswould be safeand secure becausevaluable
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   diam ondsbacked the Eagle investm entopportunity. J.Seigeldid notdisclose any risksassociated

   w ith the investm entor that investor funds would be used to pay other investors their purported

   investm entreturns.

          86.    J.Seigelem ailed the lnsurance W orker an Eagle lnvestm entContract. O n about

   N ovem ber 9,2015,the lnsurance W orkerinvested in Eagle by executing the lnvestm entContract

   andwiring $25,000 toEagle.
          87.    ln Aprilor M ay 20l7,J.Seigel solicited the lnsurance W orker to m ake a second

   investm entin Eagle. J.Seigelem ailed thelnsuranceW orkera second Eagle lnvestm entContract

   and reassured him that Eagle w ould double his m oney again in 18 m onths. Based on these

   representations,the lnsurance W orkermade a second investmentfor$25,000 in AprilorM ay



          88.    As another example,on aboutJune 7,2017,J.Seigeltold the Vderinarian that

   Eaglewasin the diamond businessand guaranteed investorfundswith rarecolored diamonds. J.

   Seigel told the V eterinarian that Eagle w ould use investor funds to buy colored diam onds,

   including rough parcels,and cutthem into sm aller pieces forresale. J.Seigelrepresented to the

   Veterinarian thathe w ould double hism oney in 18 to 24 m onths.

          89.    During this conversation,J.Seigeltold the V eterinarian thatinvesting w ith Eagle

   was safe and secure,and thatEagle secured the investm ents w ith diam onds.H e never disclosed

   any risks associated w ith the investm entorthatEagle w ould use investor funds t()pay investors

   purported investm entreturns.

          90.    Based on J.Seigel'srepreselztations,theVeterinarian invested $50,000with Eagle

   onJune7,2017.ln exchange,EagleprovidedtheVeterinarian with an EaglelnvestmentContract

   thatH .Seigelsigned.
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                           C . FraudulentConductin the Eaale O fferin:

          91.    ln connection with the Eagle offering, Eagle and A m an engagetlin fraudulent

   conduct.

                 A s an officer and ownerofE'agle,asw ellasa signatory on Eagle's bank accounts,

   Am an knew ,or w as reckless in not knowing,the representations m ade to investors about the

   offering and falsity ofthe representations.

          93.    Contrary to the representationsto investorsthatEagle w ould use investor fundsto

   purchase,cut,polish,and reselldiam onds for protits,Am an and Eagle used investor fundsto pay

   investors their purported investm ent returns. They also siphoned investor funds to N atural

   Diam onds to pay investors theirpurported returns,and used investorfunds to m ake expenditures

   thatserved no legitim ate businesspurpose. N aturalD iam ond investors'funds were com m ingled

   w ith Eagle investorfunds and A rgyle Coin investorfunds.

          94.    A s an exam ple of how the Ponzischem e in Eagle operated,on M ay 29,2018 an

   individualinvestor contributed $l70,000 to Eagle. Prior to this investment,this Eagle barlk
   accounthad a negative balance,of-$24,976.32. On M ay 31,2018,Eagle used $25,000 ofthe

   $170,000 in investorfundsto pay an investor.
          95.    Between M ay 30,2018 and M ay 31,2018,Eaglewired about$57,512 oftheM ay
   29thinvestor'sfundsinto anotherbank accountEagleheld. Priorto thereceiptofthisw ire transfer,

   thissecondEaglebank accounthadanegativebalanceof$46,370.30.Aftertheincom ingtransfer

   of$57,512 in investorfunds,the second Eagle bank accounthad abalance ofabout$20,817. lt

   then transferred about$7,500 Am an'sex-wifeon M ay 31,2018.

          96.    Asanotherexample,onApril16,20l8an individualinvestorcontributed $218,000

   to Eagleviawiretransfer(with thenotation Sûinvestment-diamonds''). Priortothisinvestment,
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   Eagle'sbank accounthadanegativebalance.of-$52,980.57.OnApril17,2018Eagletransferred
   $25,000 oftheApril16thinvestor'sfundstoanotherEagleinvestor.

          97.    Eagle also transferred Eagle i
                                              ïnvestors'fundsto N aturalD iam ondsso they could be

   used to pay N aturalDiam onds investorstheirpurported investm entreturns.

                 For example,on April18,2018,Eagle transferred $50,000 of Eagle investors'

   funds to a N atural Diam onds bank account. Prior to the receipt of these funtls, the N atural

   Diamondsbank accounthad abalanceof$17,825.87.Afterreceivingthe$50,000transferrNatural

   Diamond paid approxim ately $53,000 in interestpaym entsto fourindividualinvestors.W ithout
   the $50,000 ofEagleinvestorfunds,NaturalDiamondswould nothave had adequatefundsin its

   accountto m ake these interestpaym ents.

                 Eagle com m ingled investors'fundsw ith the N aturalD iam ondsbank accountsfrom

   no laterthan July 21,2017 untilat least June 22,2018,and w ith the A rgyle Coin bartk accounts

   from no laterthan M ay 3 1,2018 untilatleastFebruary 22,2019.

                 Additionally,from M ay 2016 untilDecem ber2018,Eagle spent$453,485,which
   included som e investors'funds,to purchase horsesand horse riding lessonsforA m an'sadultson.

          10l. Between August 21,2014 and August 16, 2018, Eagle gave about $747,125,
   including investorfunds,to F.Shipm an,w ithoutany legitim ate purpose.

          102. Between M ay 2014 and December 2018,Eagle gave about $1,038,992,which
   included investorfunds,to the W innersChurch. There wasno legitim ate businesspurpose forthis

   transfer of funds. For exam ple,on July 18,2016,Am an signed a check from the Eagle barlk

   accountpayable to W innersChurch for$69,500,with thenotation SûDonation.'' On August l7,
   2016,Am an signed acheck from theEaglebank accountpayableto W innersChurch for$30,000

   withthenotation CdM y Kids.'' Similarly,on October2,2016,Am an signed acheck from theEagle
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   bank accountpayable to W innersChurch for$50,000with thenotation ûts'ly Kids.'' Som eofthe

   otherchecksA m an sentW inners Church from the Eagle A ccountincluded a notation fortttithing''

   and one included the notation thatitw as fol'a Cttrip to lsrael.''

                  During this sam e time period,Eagle gave $3,806,661,which included investor

   funds,to H .S.M anagem entG roup.

           104. From June 2014 untilFebruary 2019,Aman took more than $1.5 m illion,which

   included investors'funds,from Eagle. Dllring this sam e tim eframe,he also took atleast $1.9
   m illion ofEagle funds,including investors'funds,to pay forhischild's tutoring sessions,to shop

   atGucci,pay hisrent,and m ake hisdivorce settlem entpaym ents to hisex-w ife.

                  A s of February 28, 20l9,the Eagle bank accounts had a com bined balance of

   $155.26.
                                  V . TH E A R G YLE C O IN FR A U D

                                     A . The A revle Coin O fferin:

                  From approxim ately Decem ber2017 through present,Argyle Coin,Am an,and the

   Seigels have offered and sold investm ents in a supposed cryptocurrency token called EûRGL''

   (tûRGL Tokens'')thatispurportedlybackedbyfancycoloreddiamonds. N o registration statem ent
   w asfiled with the Com m ission orin effectforthe A rgyle Coin offering.

                  Argyle Coin isdistributing aûûW hite Paper''gExhibit41through itswebsitethat
   describes itsplalm ed businessm odeland provides the follow ing datesfor itsinitialcoin offering

   (ûGlCO'')-
                  (l)initialpre-saleofferingfrom December2017throughAugust26,20l8;
                  (2)pre-lco August27,20l8tluoughOctober16,20l8;and
                  (3)crowd-funding (lCO)October17,2018throughNovember27,2018.
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                 Argyle Coin investors recei'
                                            d
                                            /e a contract docum enting their investm ent in RGL

   Tokens(theûçArgyleCoin Contract'')thatissignedbyAman (Exhibit5j.
          l09. The A rgyle Coin Contract provides,am ong other things,that the ûlinvestor'' is

   ûûinvesting''in the ûtAzgyle Coin Project,''which is comprised ofthe launch and subsequent
   administratiolzofthe cl-yptocurrency RGL Trbkens. ltalso providesthatthe investorwillreceive

   an 8% return on theprincipalam ountinvested aftera lz-m onth period and an additional2% retunz

   atthe end ofa 24-m onth period ifthe investorelectsto extend the investm entforan additional12

   m onths.

          1l0. lnvestorslacked expertise in diam ondsand had no involvem entin how A rgyle Coin

   operated,the developm entofcryptocurrencl
                                           hr,orany businessdecisionsw hatsoever'
                                                                                . lnstead,they

   relied on Argyle Coin and Am an to m ake alldecisionsthatwould affectthe profitability ofthe

   A rgyle Coin investm ent.

          111. lnvestors senttheirinvestm entfundsto a bank accountin the nam e ofA rgyle Coin

   via w ire transferorcheck.

          112. From January 2018 through M arch 31,2019,A rgyle Coin raised approxim ately

   $2,670,000 from 59 investors,including unaccredited investors,through the saleofRGL Tokens.
                                B. Solicitation ofAra le Coin Investors

          113. From atleastasearly asO ctober20l8 untilpresent,A rgyle Coin hasm arketed the

   RGL Tokens to investors through the W hite Paper and its w ebsite, https://w ww .argylecoin.io

   gExhibit5j.
                 Beginning no later than October 2017,Am an and J.Seigelhave also solicited

   investorsdirectly.Forexam ple,inM ay2018,J.SeigelcontactedanEagleinvestorwiththeinitials

   M .U.whoworksin oi1fieldconstruction inAlberta,Canada(thetûoilField W orker').J.Seigel

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   told him thatA rgyle Coin w as offering a cryptocurrency token and w ould use investor funds to

   buy and selldiam ondsand to build a virtualplatform w here diam onds could be boughtand sold

   online.

          ll5. J.Seigeltold the OilField W orkerthatthe Argyle Coin investm entwas safe and

   secured by $25m illion in dialuondsthatArgyleCoin storesin a vault.J.Seigelalso told him that

   the investm entw as guaranteed by an insurance bond. Atno tim e did J.Seigeldisclose any risks

   associated w ith the investm entor thatinvestor funds w ould be used to pay investors purported

   investm entreturns.

          1l6. J.Seigeltold the O ld Field W orkerthatArgyle Coin would pay investm entreturns

   of 8% after one year,and an additional2% return fora tw o-year investm ent. J.Seigeltold him

   thathe w ould have access to hisinvestm entfunds in the form ofttArgyle Coins''thzough a digital

   w alletavailable on Argyle Coin'sw ebsite.

          1l7. Based on J.Seigel's representations,the OilField W orker invested $10,000 by
   w iring funds to Argyle Coin's bank account on aboutM ay 24,2018. O n thatsam e day,the Oi1

   Field W orkersigned an Argyle Coin Contractand retunzed itto ArgyleCoin viaem ail.

                 A m an also solicited investors. For exam ple,in October 2017,A m an solicited a

   professionalfootballplayerwhoresidesinW ellington,Florida(theiûFootballPlayer'').Amantold
   the FootballPlayer that Argyle w as a cryptocurrency business that w as unique because it was

   backed by fancy colored diam onds. A m an em phasized the safety and security ofthe investm ent,

   and told the FootballPlayer there w as no risk to this investm ent because itw as backed by the

   diam ondsand guaranteed byan insurancebond.

          119. A m an told the FootballPlayerthatA rgyle Coin would use investorftlndsto develop

   the business,and thathe would receive a retul.
                                                n on hisinvestm entwithin one yearofinvesting.


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   Am an did nOtdisclose any risks associated w ith the investm ent orthatinvestor funds w ould be

   used to pay investorstheirpurported investlnentreturns.

          120. Basedon Am an'srepresentations,theFootballPlayerinvested by wiring $500,000

   to the Eagle bank accounton aboutOctober 23,2017,and executed an A rgyle Coin Contract.

                 A rgyle Coin has notpaid the FootballPlayer any investm entreturn. N or has it

   given him accessto his supposed digitalw alletofA rgyle Coins.

          122. Argyle Coin also solicits investorsthrough its w ebsite,which publishesthe W hite

   Paper.lntheW hitePaper,ArgyleCoin statesthePre-1CO beginninginAugust2018would launch

   for3,462,000coinunitsat$10perunit(seekingtoraiseatotalof$34,620,000).
                 ln the W hite Paper,A rgyle C--oin states itw illcreate its ow n Coin Exchange tûthat

   willbe an industry leader by interfacing w ith other Blockchains such as Bitcoin,Ethereum ,&

   Litecoin,''and claim s to be the only cryptocurrency thatw illm ake itpossible for individuals to

   trade diam onds on avirtualplatform using Stsm artcontracts.''

          124. ArgyleCoin also claim sin the W hitePaperthatitisthe only cryptocurrency backed

   by $25 million of fancy colored diamonds, which have been purchased by Argyle Coin's

   principals.

          125. Argyle Coin represents in the W hite Paper thatitwilluse 60% ofthe funds raised

   during the 1CO to purchase additionaldiam l
                                             nnds.

                 ArgyleCoin alsorepresentsin theW hitePaperthatrevenueswillcomefrom (1)
   issuanceandmaturityofthecurrency;(2)nmnagingacoinexchange;and(3)facilitatingfunding
   pools forthe purchase ofhigh-w orth rare stones.
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                 The W hite Paperalso includes statem ents by A rgyle Coin thatitplans to obtain a

   ûûguarantee bond''thatis intended to return investor funds in the eventthatArgyle Coin fails to

   develop a w orking platform and the RGL Tokensarenotdelivered.

                C. M isrepresentations and (lm issionsin the Ara le C oin O ffering

          128. ln connection with the A rgyle Coin offering,A m an and Argyle Coin know ingly or

   recklessly m ade m aterialm isrepresentationsand om issionsaboutthe use ofinvestorfundsand the

   safety ofthe investm ent.

          129. Contrary to the representations to investors that Argyle Coin would use investor

   funds to develop the cryptocurrency,Am an and A rgyle Coin used investorfundst()pay investors

   theirpurported investmentreturns. They also siphoned offatleast$1.6 m illion ofArgyle Coin
   investorfundsand transferred them to N aturalDiam ondsand Eagle in orderto pay investorstheir

   purported retunzs.

                 Forexample,On June 8,2018,an investordeposited $170,000 into Argyle Coin's
   bank accountvia w ire transfer. Before receiving these investor funds,the A rgyle Coin bank

   accounthad a balance of $3,480. Upon receiptofthe investor funds on June 8,Argyle Coin

   transferred $123,000 to NaturalDiamonds'bank accountthatsame day. Priorto the receiptof
   thesefunds,theNaturalDiamondsbankaccounthada balanceof$509.80.Upon receiptofthese

   fundson June 8,N aturalDiamonds senttwo wire transfers,totaling $70,000,to Eagle'sbank

   account. Priorto the receiptofthese funds,Eagle'sbarlk accounthad a balance of$4,184.58.
   After receiving these funds on June 8,2018,Eagle senttwo w ire transfers to investors totaling

   $70,500 thatsam eday.
                  On June 11,2018 (withouthaving received any otherfundssince the $170,000
   depositon June8),Argyle Coin transferred an additional$30,000toNaturalDiamonds,which

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   then imm ediately transferred $5,000 ofthese fundsto Eagle,$27,500 to H.S.M anagement,and

   $10,000 back to ArgyleCoin.

                   A m an also used A rgyle Coin investor funds to cover negative balances in the

   NaturalDiam ondsand Eaglebank accounts.Forexam ple,on M arch 8,2018 an individualinvestor

   eontributed $149,980 to Argyle Coin. Priorto this investm ent,the Argyle Coin bank account

   balance was$32,771.10. Afterreceiving the $149,980 transferon M arch 8,Argyle Coin made
   two wire transfers totaling $133,000 to Natural Diamonds on that sam e day. W hen N atural

   Diamonds received the $133,000 transfer from Argyle Coin on M arch 8,2018,the Natural
   Diamondsbank accounthad an existing negative balance,of-$104,286.13. Afterreceiving the

   Argyle Coin investorfunds,N aturalD iam olkdssenttw o investors fundsand notated the paym ents

   as Ctm onthly interest-''

           133. Argyle Coin gave Am an about $268,000. Also,from August 20, 2018 until

   Decem ber 18,20l8,Argyle Coin gave $42,500 to F.Shipman. From November 13,20l8 until
   December4,20l8,ArgyleCoingave$55,000toW innersChurch.Therewasno legitim atereason
   forthese paym ents.

           134. A rgyle Coin com m ingled investors' funds w ith N atural D iam onds from no later

   than M ay 17,20l8 untilatleastFebnlary 1l,2019,and com m ingled investors'fundsw ith Eagle

   from no laterthan M ay 31,2018 untilatleastFebruary 22,2019.

           l35. A dditionally,contrary to A m an and A rgyle Coin'srepresentationsto investorsthat

   Argyle Coin investm ents are backed by valuable diam onds, A rgyle Coin does not own any

   diam onds.

                   Further, contrary to Am an and A rgyle Coin's representations to investors that

   investm entsw ere guaranteed by an insurance bond,the tenns ofthe bond required A rgyle Coin to
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   develop a cryptocurrency in orderforthe bond to provide coverage.A sa signatory on the Argyle

   Coin,N aturalDiam onds,and Eagle bank accounts,Am an knew he was notusing investor funds

   to develop cryptocurrency butw as instead using them to pay otherinvestorsin N aturalD iam onds

   and Eagle,replenish N aturalDiam onds and Eagle's negative barlk accountbalances,and pay for

   personalexpenditures. Thus he knew or w as reckless fornotknow ing thatthe bond w ould not

   provide a guarantee forinvestorm oney.

          137. AsofFebruary 28,2019,theArgyle Coin bank accountheld atotalof$376.53.

                                              C O UN T I

            Fraud in Violation ofSection 10(b)and Rule 10b-5(a)oftheExchanueAct
                    A gainstN aturalD iam onds,Eagle,Argyle C oin,and A m an

          138. The S.E.C.repeats and reallegesparagraphs 1 through 137 ofthis Com plaint.

          139. A m an,beginning no laterthan M ay 2014 and continuing through present,N atural

   Diam onds,beginning no laterthan M ay 20l4 untilatleastDecem ber20l8,Eagle,beginning no

   later than M arch 2015 until Decem ber 2018,and A rgyle Coin beginning no later than O ctober

   2017 through present,directly orindirectly,by use ofthe m eans and instrum entalities ofinterstate

   com m erce,or ofthe m ails,in connection with the purchase or sale of securities,knowingly or

   recklessly,em ployed devices,schem es or artifices to defraud in connection with the purchase or

   sale ofsecurities.

          140. By reason of the foregoing,Am an,N aturalD iam onds,Eagle,and A rgyle Coin,

   directly orindirectly violated,and,unlessenjoined,arereasonablylikelyto continueto violate,
   Section l0(b)ofthe ExchangeActgl5U.S.C.j 78j(b)1and Exchange ActRule 10b-5(a)g17
   C.F.R.j240.10b-5(a)j.
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                                             ('
                                              -O
                                              -A UN T 11
            Fraud in Violation ofSection 10(b)and Rule 10b-5(b)oftheExchaneeAct
                                           A gainstA m an

                 TheCom m ission repeatsand reallegesparagraphs 1through 137 ofthisCom plaint.

                 A m an,beginning no laterthan October 2017,directly or indirectly,by use ofthe

   m eansorinstrum entalitiesofinterstate com m eree,orofthe m ails,in connedion with thepurchase

   or sale of securities,has know ingly or recklessly m ade untnze statem ents of m aterial facts or

   om itted to state m aterial facts in order to m ake the statem ents m ade, in the light of the

   circum stancesin w hich they were m ade,notm isleading.

                 By reason of the foregoing,A m an directly or indirectly violated, and, unless

   enjoined,isreasonablylikelytoeontinuetoviolate,Seetion 10(b)oftheExehangeXctg15U.S.C.
   j78j(b))andExchangeActRule10b-5(b)(17C.F.R.j240.10b-5(b)1.
                                             f'
                                              ,O U NT 1lI
            Fraud in Violation ofSection 10('b)and Rule 10b-5(c)oftheExchanceAct
                    A gainstN aturalDiam onds,Eagle,A rgyle C oin,and A m an

                 The Com m ission repeatsand reallegesparagraphs 1through 137 ofthisCom plaint.

          145. A m an,beginning no laterthan M ay 2014 and continuing through pè
                                                                               resent,N atural

   D iam onds,beginning no laterthan M ay 20 l4 untilatleastD ecem ber 2018,Eagle,beginning no

   later than M arch 2015 untilD ecem ber 20l8,and Argyle Coin,beginning no later than October

   2017 through present,directly or indirectly,by use ofthe m eansor instrum entalities ofinterstate

   com m erce,or of the m ails,in cozm ection with the purchase or sale of securities,knowingly or

   recklessly engaged in acts,practices,and courses of business w hich have operated,are now

   operating,and w illoperate asa fraud upon the purchasersofsuch securities.

                 By reason of the foregoing,Am an,N atural Diam onds,Eagle, and Argyle Coin,

   directly orindirectlyviolated,and,unlessenjoined,arereasonablylikelyto continuetoviolate,

                                                 28
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   Section 10(b)oftheExchange Act(15 U.S.C.j 78j(b))and Exchange ActRule 10b-5(c)gl7
   C.F.R.j 240.10b-5(c)1.
                                             fN
                                              :
                                              >OUNT IV
                             Fraud in the O ffer or Sale ofSecurities in
                         Violation ofSectionk17(a)(1)ofthe SecuritiesAct
                    A gainstN aturalD iam onds,Eagle,A rgyle C oin,and A m an

          147. TheCom m ission repeatsané reallegesparagraphs 1tlzrough l37 ofthisCom plaint.

          148. A m an,beginning no laterthan M ay 2014.and continuing through present,N atural

   D iam onds,beginning no laterthan M ay 2014 untilatleastD ecem ber2018,Eagle,beginning no

   later than M arch 2015 untilDecem ber 2018,and A rgyle Coin,beginning no laterthan October

   2017 through present,directly or indirectly,in the offeror sale of securities,by the use ofm eans

   or instrum ents of transportation or com m unication in interstate com m erce or of the m ails have

   know ingly orrecklessly em ployed devices,schem es orartificesto defraud.

                  By reason of the foregoing,A m an,N aturalD iam onds,Eagle,and A rgyle Coin,

   directlyorindirectly violated,and,unlessenjoined,arereasonably likely to continueto violate,
   Section l7(a)(1)oftheSecuritiesAct(15U.S.C.j77q(a)(1)1.
                                              C O UN T V

                             Fraud in the O ffer or Sale of Securities in
                         Violation ofSection 17(a)(2)ofthe SecuriticsAct
                                            A gainstA m an

          l50. TheCom m ission repeatsand reallegesparagraphs 1through 137 oflhisCom plaint.

          151. A m an,begilm ing no laterthan October 2017,directly or indirectly,in the offeror

   sale of securities, by the use of m eans or instrum ents of transportation or cornm unication in

   interstatecom m erce orofthem ailshasnegligently obtained m oney orproperty by m eansofuntrue




                                                   29
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   statem ents ofm aterialfacts and om issions to state m aterialfacts necessary in order to m ake the

   statem ents m ade,in the lightofthe circum stancesunderwhich they w ere m ade,notm isleading.

                  By reason of the foregoing,A m an, directly or indirectly violated, and, unless

   enjoined,isreasonably likely to continue to violate,Section 17(a)(2)ofthe SecuritiesActg15
   U.S.C.j77q(a)(2)j.
                                             I:
                                              >
                                              MOUNT Vl
                             Fraud in the O ffer or Sale ofSecuritiesin
                         Violation ofSectiom!17(a)(3)oftheSecuritiesAct
                    A gainstN aturalDiam onds,E agle,A rgyle C oin,and A m an

                  TheCom m ission repeatsand reallegesparagraphs 1through l37 ofthis Com plaint.

          154. A m an,beginning no laterthan M ay 2014 and continuing through present,N atural

   D iam onds,beginning no later than M ay 2014 untilat leastDecem ber2018,Eagle,beginning no

   later than M arch 2015 until Decem ber 2018,and Argyle Coin,beginning no later than October

   2017 tllrough present,directly orindirectly'
                                              ,in the offer orsale ofsecurities,by the use ofm eans

   or instrum ents oftransportation or com m tm ication in interstate com m erce or of the m ails have

   negligently engaged in transactions,practices,or courses of business w hich operated or would

   have operated asa fraud ordeceitupon the purchasers.

          155. By reason of the foregoing,N atural Diam onds,Eagle,A rgyle Coin,and Am an,

   directly orindirectly violated,and,unlessenjoined,arereasonably likelyto continuetoviolate,
   Section l7(a)(3)oftheSecuritiesActL15U.S.C.j77q(a)(3)1.




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                                              CO U NT V lI

                              Sale ofUnregistered Securities in Violation of
                               Sections5(a)and 5(c)ofthe SecuritiesAct
                                        A gainstA llDefendants

                  The Com m ission repeats and reallegesparagraphs 1thzough 137 of thisCom plaint

   asiffully setfol'th herein.

                 N o registration statem entw as tiled or in effectw ith the Com m ission pursuantto

   the Securities Act w ith respect to the securities and transactions issued by N aturalD iam onds,

   Eagle,or Argyle Coin asdescribed in this Com plaintand no exem ption from registration existed

   with respectto these securities and transactions.

                  Am an,beginning no laterthan M ay 2014 and continuing through present,N atural

   Diam onds,beginning no laterthan M ay 2014 untilatleastD ecem ber 20l8,Eagle,beginning no

   laterthan M arch 2015 untilDecem ber 2018,Argyle Coin,begilm ing no laterthan O ctober2017

   and continuing through present, H . Siegel, beginning no later than M ay 2014 until at least

   Decem ber 20l8,and J.Seigel,beginning no later than M ay 2014 untilat leastD ecem ber 2018,

   directly and indirectly'
                          .

                 m ade use ofm eansorinstrum entsoftransportation orcom m unication in interstate

          com m erce orofthe m ailsto sellsecurities asdescribed herein,through the use orm edium

          ofa prospectusorotherw ise;

                  carried securities or caused such securities, as described herein, to be carried

          through them ailsorin interstate com m erce,by any m eansorinstrum entsoftransportation,

          forthepurposeofsaleordelivery aftersale;or

                 m ade use ofm eans orinstrum entsoftransportation orcom m unication in interstate

          com m erce or ofthe m ails to offerto sellor offer to buy through the use orm edium of a
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          prospectus orothem ise,as described herein,w ithouta registration statem enthaving been

          filed orbeing in effectw ith the Com m ission asto such securities.

          159. By reason ofthe foregoing.
                                        ,the Defendants violated,and,unless enjoined,are
   reasonably likely to continuetoviolate,Sections5(a)and 5(c)ofthe SecuritiesAct,15 U.S.C.
   jj77e(a)and77e(c).
                                      RELIEF REOUESTED
          W H EREFO R E,the Com m ission respectfully requeststhatthe Courtfind thatD efendants

   com m itted the violationsalleged and:

                                                  1.

                   Tem porarv Restraininz OrderAnd Prelim inarv lniunction

          lssue a Temporary Restraining (lrder and Preliminary lnjunction, restraining and
   enjoining'
            .Defendants Aman and Argyle Coin,their ofticers,agents,servants,employees,
   attorneys,and all persons in active concerl
                                             ;or participation w ith them ,and each ofthem ,from

   violating Section 17(a)oftheSecuritiesAct,Section 10(b)andRule 10b-5oftheExchangeAct,
   andSections5(a)and(c)oftheSecuritiesAct.
                                                  I1.

                                       Perm pnentlniunction

          lssue aPermanentlnjunction,enjoining allDefendants,theirofficers,agents,servants,
   em ployees,attorneys, and allpersons in active concertor participation w ith theln,and each of

   them,from violating Section 17(a)ofthe SecuritiesAct,Section 10(b)and Rule 10b-5 ofthe
   ExchangeAct,andSections5(a)and (c)oftheSecuritiesAct.
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                                                111.

                               AssetFreeze jlnd Sw orn A ccountinus

          lssuean O rderfreezing theassetsofAm an and Argyle Coin untilfurtherOrderofthe Court

   and freezing assetsofH .Seigel,H .S.M anagem ent,W innersChurch,S.Shipm an,and W .Shipm an

   up to the am ountof the ill-gotten gains each received untilfurther O rderofthe Court,issuing a

   lim ited assetfreeze asto G-7 to include the Corporate Defendants'diam onds Am an consigned to

   G-7 until further Order of the Court, and requiring Am an and Argyle Coin to file sw orn

   accountingsw ith this Court.

                                                lV.

                                      R ecords Preservation

          lssue an Order requiring allD efendants and Relief Defendants to preserve any records

   relatedtothesubjectmatterofthislawsuitthatareintheircustodyorpossessionorsubjecttotheir
   control.

                                                V.

                                           Disuoruem ent

          lssue an O rder directing a1lD efendants and Relief Defendants to disgorge allill-gotten

   gainsreceivedwithintheapplicablestatuteoflimitations,includingprejudgmentinterest,resulting
   from the actsorcoursesofconductalleged in thisCom plaint.

                                                V l.

                                             Penalties

          lssue an O rder directing allD efendants to pay civilm oney penaltiespursuantto Section

   20(d)oftheSecuritiesAct,15U.S.C.j77t(d),andSection21(d)oftheExchangeAct,15U.S.C.
   j78u(d).
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                                                   V 1l.

                                      A ppointm entofa R eceiver

          Appointa receiveroverD efendantArgyle Coin.

                                                   V 1l.

                                            Further Relief

          G rantsuch otherand furtherreliefasm ay be necessary and appropriate.

                                                   lX .

                                      R etention ofJurisdiction

          Further,theCommission respectfull
                                          .
                                          y requeststhattheCourtretainjurisdiction overthis
   action in orderto im plem entand carry outthe term s ofallorders and decreesthatitm ay enter, or

   to entertain any suitable application orm otion by the Com m ission for additionalreliefw ithin the

   jurisdictionofthisCourt.
                                   D EM A ND FO R JU RY TR IA L

          TheCommissionherebydemandsajurytrialinthisease.
   M ay 13,2019                  Respectfully subm itted,


                                             z'Z           x
                                              :
                                              .X               3
                                        Am .  liggle Berlin,Esq.
                                        SeniorTrialCounsel
                                        Florida BarNo.630020
                                        DirectDial:(305)982-6322
                                        Directemail:berlina@ sec.gov
                                        Attorney forPlaintiff
                                        SE CUR ITIES A ND EX CH A N G E        CO M M ISSIO N
                                        80lBrickellA venue,Suite 1800
                                        M iam i,Florida 33131
                                        Telephone:(305)982-6300
                                        Facsinlile: (305)536-4154

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